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 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
     United States of America,                            CR-20-00634-1-PHX-DWL
 9
                          Plaintiff,
10                                                                 ORDER
              vs.
11
12   Jill Marie Jones,
13                        Defendant.
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           Upon motion of the United States, and good cause appearing,
15
           IT IS HEREBY ORDERED that the Government’s Motion for an Extension of
16
     Time to File a Reply to Defendant’s Response to Motion for Protective Order is
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     GRANTED (Doc. 26).
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           IT IS FURTHER ORDERED extending the time for the Government to file a
19
     reply to Defendant’s Response to Motion for a Protective Order until December 10, 2020.
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           Dated this 20th day of November, 2020.
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